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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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E, JEAN CARROLL,
Plaintiff,
-against- 20-cv-7311 (LAK)
DONALD J. TRUMP, in his personal capacity,
Defendant.
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ORDER DENYING TRIAL POSTPONEMENT

The passing of Amalija Knavs, the mother of former first lady Melania Trump, was
announced on January 9, 2024, The Court offers its condolences to Mr. and Mrs. Trump and the rest
of Ms. Knavs’ family.

Today, at 3:59 pm, the start of the holiday weekend, Mr. Trump’s counsel emailed a
member of the Court’s staff a request for a one-week postponement of the trial, long scheduled to
begin on January 16, 2024. The reason given was that Mr. Trump proposes to spend January 17 and
18 traveling to and attending the funeral, which the family has scheduled for January 18, 2024 in
Florida.

The application is DENIED. The trial shall begin at 9:30 a.m. on January 16, 2024
as scheduled. Mr. ‘l'rump is free to attend the trial, the funeral, or all or parts of both, as he wishes.
A memorandum will follow this order.

Counsel for both plaintiff and defendant shall file their respective letters/emails
concerning this request on the Court’s publicly accessible CM/ECF system no later than January 13,
2024,

SO ORDERED.

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Lewis A. Kaplan’?
United States District“Judge

Dated: January 12, 2024 4 f } _

